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                    UNITED STATES BANKRUPTCY COURT
                       DISTRICT OF MASSACHUSETTS
                            CENTRAL DIVISION

 IN RE:
 DAVID E. GRAVLIN, JR.                            Chapter 13
                                                  Case no. 17-41714-CJP

             DEBTOR’S OBJECTION TO THE MOTION TO DISMISS
                 CHAPTER 13 FILED BY LORA A. FICKETT

 NOW COMES the Debtor, David E. Gravlin, Jr., by his counsel, to respond and
 object to the Motion to Dismiss filed by Lora A. Fickett. In support therefore the
 Debtor states the following:

    1. The Debtor denies the statements contained in Paragraph 1. The Debtor
       filed this Chapter 13 in good faith to provide for payment in full of his past
       due child support.
    2. The Debtor denies the statements contained in Paragraph 2. The Debtor
       believes that this Plan is in the best interest of all creditors, including Ms.
       Fickett.
    3. The Debtor denies the statements contained in Paragraph 3. The Debtor
       further states that this Plan, as proposed, is confirmable. The Debtor
       further states that the Plan has not yet been confirmed primarily due to
       ongoing disputed Proofs of Claim filed by Ms. Fickett.
    4. The Debtor denies the statements contained in Paragraph 4. The Debtor
       further state that he is current on all post-petition domestic support
       obligations.
    5. The Debtor denies the statements contained in Paragraph 5. The Debtor’s
       income, in its entirety, is reflected on Schedule I.

 WHEREFORE, the Debtor respectfully requests that this Court deny the Motion
 to Dismiss.

                                                  Respectfully Submitted,
                                                  David E. Gravlin, Jr.,
                                                  By his counsel,

                                                  /s/ Wendy M. Mead
                                                  Wendy M. Mead
                                                  #635333
                                                  Wendy M. Mead, PC
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                                                 wendymeadpc@verizon.net
 DATED: March 21, 2018

                           CERTIFICATE OF SERVICE

 I, Wendy M. Mead, hereby certify that, on March 21, 2018, I served a true and
 correct copy of the foregoing document by first class mail, postage prepaid, upon
 each of the parties listed below not noted as having received electronic notice on
 the electronic filing receipt.

                                          /s/ Wendy M. Mead
                                          Wendy M. Mead

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 Worcester, MA 01601

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 36 Bulkeley Road
 Littleton, MA 01460

 David E. Gravlin, Jr.
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